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                                                          April20,2022

         VIA ECF

         Hon. Christian F. Hummel
         United States Magistrate Judge
         United States District Court
         Northern District of New York
         James T. Foley U.S. Courthouse
         445 Broadway, Room 441
         Albany, NY 12207

         Re        Brigette Mabe v. Wal-Mart Associates, Inc.
                   Northern District of New York
                   Civil Action No. l:20-cv-00591 (TJM)(CFH)

         Dear Judge Hummel:

                Greenberg Traurig, LLP represents Defendant Wal-Mart Associates, Inc.
         ("Defendant") in the above-referenced action. Plaintiff Brigette Mabe ("Plaintiff') is
         represented by Brian S. Schaffer and Hunter G. Benharris, attorneys with the firm of Fitapelli
         & Schaffer, LLP.

                Pursuant to a March 25,2022 text order, the Court has directed an Initial Rule 16 Case
         Management Conference be held on May 5, 2022; and a Civil Case Management Plan and
         Mandatory Disclosures be exchanged by the parties and filed on or before April 28,2022.
         (ECF Dkt. No. 39.) After the March 25 text order was issued, however, Defendant moved to
         amend Judge McAvoy's Decision and Order (ECF Dkt. No. 38) (the "Ordero'), dated March
         24,2022, to (1) certify the Order for interlocutory appeal, so that Defendant may petition the
         Second Circuit Court of Appeals to certify the question presented in the Order to the New York
         Court of Appeals; and (2) stay further proceedings in this action pending the interlocutory
         appeal's disposition ("Defendant's Motion"). (ECF Dkt. Nos. 40 & 41.)

                As discussed below, Defendant respectfully requests adjournment of the discovery and
         other matters addressed in the March 25 text order pending Judge McAvoy's decision on
         Defendant's Motion.

                Alternatively, Defendant respectfully requests that Your Honor schedule a telephonic
         conference with the parties, prior to April 28,2022, to consider whether to order expedited,
         targeted discovery related to information recently shared with Plaintiff that dooms her lawsuit.


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         Specifically, Defendant notified Plaintiff that, on October 7, 1993, the New York State
         Department of Labor (.'DOL") granted Wal-Mart Stores, Inc. written authorization to pay
         wages on a bi-weekly basis to manual workers (which is what Plaintiff claims she was). Such
         authorization is fatal to Plaintiff s sole remaining cause of action in this action, alleging that
         Defendants violated New York's Labor Law by failing to pay her on a weekly basis. However,
         Plaintiff has refused to dismiss her case and takes the position that the 1993 authofization does
         not apply to Defendant. Thus, at this juncture in the litigation, the only discovery that may be
         necessary relates to DOL's authorization and Defendant's corporate structure. That is
         precisely what a Magistrate Judge determined in an identical lawsuit brought by Plaintiff s
         counsel in the Eastern District ofNew York. See Serge Rodrigue v. Lowe's Home Companies,
         LLC, and Lowe's Companies, Inc., No. 1:20-cv-01I27,ECF Dkt. No. 33 (E.D.N.Y. Sept. 28,
         2021) (Hon. Roanne L. Mann).

                                                   Background

                   A.       The Instant Case

                 As alleged in Plaintiff s Class Action Complaint ("Compl." or "Complaint"), Plaintiff
          worked as a cashier at Walmart Store No. 2351 in the Town of Catskill, Greene County, New
          York. (Compl. IECF Dkl No. 1] lTfl 3, 9,31-32.) Plaintiff s wages were paid on a bi-weekly
          basis. (Id. ffi 4,34-36.) Plaintiff does not allege that she was not paid any portion of her
          wages. Nor does Plaintiff allege that any portion of her wages were wrongfully deducted. In
          other words, Plaintiff does not dispute that she was paid in full for all work performed.

                  Instead, on May 29,2020, Plaintiff filed the Class Action Complaint, setting forth two
          causes of action: first, Plaintiff alleged that Defendant violated N.Y. Lab. Law $ 191(1)(a) by
          failing to pay Plaintiff her wages within seven calendar days after the end of the week in which
         these wages were earned, rather than on a bi-weekly basis; and second, Plaintiff alleged that
         Defendant failed to provide Plaintiff with accurate wage statements, in violation of N.Y. Lab.
         Law $ 195(3). Plaintiff seeks to represent a putative class of 'omanual workers" who worked
          at Walmart grocery and retail stores in New York Stateo covering the period from May 29,
          2014 to the present. (Compl. I,2t ) By this action, Plaintiff seeks to recover for herself and
                                           l
         the putative class statutory "liquidated damages," together with pre-judgment and post-
         judgment interest, attorneys' fees and costs. (Compl. nn 42, 45 &Prayer for Relief, l|fl C-F.)

                 On August 14,2020, Defendant moved to dismiss the Complaint pursuant to Fed. R.
          Civ. P. 12(b)(6). (ECF Dkt. Nos. 12, I2-1.) By Decision and Order dated March 18,2021,
          Judge McAvoy dismissed the Second Cause of Action but denied the motion with leave to
          renew as to the First Cause of Action. (ECF Dkt. No. 22.) Defendant, in turn, renewed its
          motion to dismiss the First Cause of Action. (ECF Dkt. No. 23.)




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                  On March 24,2022, Judge McAvoy denied Defendant's renewed motion to dismiss the
          First Cause of Action. (ECF Dkt. No. 38.) The next day, the Court issued a text order that
          read, in relevant part, as follows:

                   The Initial Conference has now been set for Thursday, 51512022 @ 10:00 AM
                   before Magistrate Judge Christian F. Hummel. The Civil Case Management
                   Plan must be filed and Mandatory Disclosures are to be exchanged by the parties
                   on or before 4 l2S 12022. (Pursuant to Local Fiule 26.2, mandatory disclosures are
                   to be exchanged among the parties but are NOT to be filed with the Court.)

          (ECF Dkt. No. 39.)

                  On April 4,2022, Defendant moved to (1) amend Judge McAvoy's March 24 Order to
          certify it for interlocutory appeal, so that Defendant may petition the Second Circuit Court of
          Appeals to cetify the question presented in the Order to the New York Court of Appeals; and
          (2) stay further proceedings in this action pending that interlocutory appeal's disposition.
          (ECF Dkt. Nos. 40 & 41.) Specifically, Defendant is seeking certification to immediately
          appeal a narrow and controlling question of state law for which there is a substantial ground
          for difference of opinion      namely, whether a private right of action is available to Plaintiff
                                            -
          for her claim for untimely wages that seeks only to recover liquidated damages on
          compensation already paid. (ECF Dkt. No. 41, at 1,2,3-4.)

                  Recently, Defendant located a copy of an October 7, 1993 letter from DOL granting
          atrthorization to ooWal-Mart Stores, Inc. to pay wages to its manual workers employed in New
          York State on a semi-monthly basis."r On April 8, 2022, Defendant notified Plaintiff of this
          authorization and its belief that this avthorization rendered meritless Plaintiff s remaining
          cause ofaction.

                   B.        Opposing Counsel's Identical Lawsuit in the E.D.N.Y.

                   On February 28, 2020, four months before the instant action was             commenced,
          Plaintiff s counsel commenced in the Eastern District of New York an identical lawsuit, with
          identical claims, against Lowe's Home Centers, LLC, and Lowe's Companies, Inc. in Serge
          Rodrigue v. Lowe's Home Companies, LLC, and Lowe's Companies, Inc., No. 1:20-cv-0II27
          (E.D.N.Y.) (Lowe 's). The complaint and amended complaint filed inLowe 's is word-for-word
          the same as the Complaint filed in the instant action, save the names and nature of the parties
           and ahandful of substantively irrelevant differences. Compare Lowe 's, ECF Dkt. Nos. I and
          22,with Mabe v. Wall-Mart,Wal-Mart Associates, Inc,, ECF Dkt. No. 1.



                   I A copy of this letter is attached hereto as Exhibit A.



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                  On July 17,2020, the Lowe's Defendants moved to dismiss the two causes of action in
          the Complaint (which again are identical to Plaintiff s claims here). (Loew 's, ECF Dkt. No.
          20.) With respect to the First Cause of Action         alleging a failure to pay timely wages in
          violation of N.Y. Lab. Law $ 191(1)(a)             -
                                                        the Lowe's Defendants argued that Lowe's Home
          Center,  LLC   did not fail to pay timely -
                                                    wages because it was authorized to pay manual workers
          on a bi-weekly basis per an arrthorization letter issued in 1999 by DOL. In support, the Lowe's
          Defendants cited provisions in the Labor Law that (l) allow certain employers to obtain
           avthorization from the Commissioner of Labor to pay manual workers on a basis less frequent
          than weekly and (2) exempt liquidated damages for employers who violate the frequency of
          payment rules despite good faith efforts to comply with their requirements. See N.Y. Law.
          Law $ 191(1)(a)(ii) (providing that certain employers may seek authorization from the
          Commissioner of Labor to pay manual workers on a basis less frequent than weekly); $ 198
          (1-a) (providing for recovery of liquidated damages oounless the employer proves a good faith
          basis to believe that its underpayment of wages was in compliance with the law"). The Lowe's
          Defendants submitted the DOL authorization letter together with their motion to dismiss and
          requested that the Court convert the motion to dismiss to one for summary judgment should
          the Court find that such letter could not be appropriately considered on a motion to dismiss.
          (Lowe 's, ECF Dkt. No. 20-2.)

                 On August 27, 2021, the District Court (Hon. Rachel P. Kovner) issued a decision
          granting in part and denying in part Defendants' motion. See Rodrigue v. Lowe's Home
          Centers ZZC No. 20-CV-1 127, 2021 U.S. Dist. LEXIS 162849 (E.D.N.Y. Aug. 27, 2021)
          (Kovnero J.). The decision denied dismissal of the First Cause of Action but granted dismissal
          of the Second Cause of Action (which alleged failure to provide accurate wage statements).
          The Court "declinefd] to restyle defendants' motion under the circumstances, and . . . instead
          request[ed] that the magistrate judge overseeing pretrial matters consider expedited, targeted
          discovery that relates to the authorization-letter defense." Id. at 11 n.*.

                 After the Lowe's Defendants filed their answer, Magistrate Judge Roanne L. Mann
          conducted a telephonic conference with the parties on September 28,202I. Immediately
          thereafter, she issued an order limiting discovery to the authorization letter and Lowe's
          corporate structures as they relate to the authorization letter, and deferred discovery concerning
          the class action and the issue of whether Plaintiff qualified as a manual laborer. (Lowe 's, ECF
          Dkt. No. 33.) The parties completed the limited discovery on March 1,2022, and on April4,
          2022, the Lowe's Defendants asked the District Court to hold a pre-motion conference in
          connection with their anticipated motion for summary judgment based on the authorization
          letter. (Lowe 's, ECF Dkt. No. 38.)

                                                     Discussion

                 Defendant respectfully submits that the procedural and discovery steps addressed in the
          Court's March 25 text order should be adjourned at least until Judge McAvoy rules on


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          Defendant's Motion for an immediate interlocutory appeal and stay. Defendant's Motion will
          soon be fully briefed by the parties and likely decided by Judge McAvoy in the next few
          months. Neither party will suffer any prejudice waiting for that decision before conducting
          discovery.

                 Alternatively, Magistrate Judge Mann's handling of discovery in Lowe 's provides a
          road map as to the next steps in this case. Just like the defendants in Lowe t Defendant here
          has located and shared with Plaintiff written atrthorization from DOL to pay manual workers
          on a bi-weekly basis. Moreover, earlier this month, DOL posted on its website a list of
          employers, including Defendant,ooatrthorized to pay manual employees in New York State on
          a biweekly basis pursuant to New York State Labor Law Section 191.1a(ii)." (See DOL,
          Employers authorized              to pay manual      employees     on a biweekly basis,
          https://do1.n),.gov/s)rstem/files/documents/2022l04/authorized-employers-monthly-report.pdf
          (last visited on Apr. 18,2022).) The decisions of Judge Kovner and Magistrate Judge Mann
          in Lowe's make clear that such authorization is potentially fatal to a frequency of pay claim
          such as Plaintiff s First Cause of Action. And, just like the defendants in Lowe   tDefendant
          here intends to move for summary judgment based on the atrthorization it received from DOL.

                  Thus, there is no point for the parties to conduct far-reaching discovery concerning
          Plaintiff s class-action, until a determination is made regarding the applicability and effect of
          the DOL authorization. It follows that, like Magistrate Judge Mann in Lowe 's, Your Honor
          should defer all discovery here, except, at most, permitting limited discovery as to the DOL
           authoization letter and Defendant's corporate structure as it relates to the DOL authoization
          letter.

                                               Respectfully submitted,

                                             GREENBERG TRAURIG LLP


                                                                 erg




          HMG
          Enclosure

          cc:      All counsel of record (via ECF)




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EXHIBIT A
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